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                               EXHIBIT 17
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                                                                                     t_




            l_              IN THE UNITED STATES DISTRICT COURT
            2                    FOR TT{E DISIR.ICT OF CO],ORADO

            3

            4    Tech InstrumentaLion, Inc., a      )
                 Colorado Corporation, individually )
            5    and on behalf of alf oLhers        )
                 similarly situated,                          )
            6                                                 )
                                      Plaintiff,              )
            '7                                                )
                            VS                                )   Case No.
            I                                                 )   cv 1-5-02981-IMr
                                                              )
            9    Eurton Electric ComParyr, lnc-, a            )
                 California CorporaLion,                      )
                                                                   CEFITIFIED COPY
           10                                                 )
                                      Defendant.              )
           11                                                 )


           1,2

           13

!T         t4
           15                      DEPOSITION OF 'JOHN BUCHAMN

           16
                                   Tuesday, Sept,ember 12, 2oL7
           3,7

           L8                                   9:54 A.M.
            19                    633 W. 5th Street, Suite 900

            20                    Los Angeles, California 90071
            2I
            22

            z5    Reported by:
                  Maria Beesley
            24    csR 9132, RMR, FCRR
                  .Iob No. 139402
            25




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                                                                                      a




       l-    APPEARAI{CES OF COU}SSEL

       2

       3     For Plaintiff:
       4                  WOODROIif & PELUSO
                          BY:  STEVfl\T    L.
                                           WOODROW, ESQ.
       5                  3900 E. Mexico Avenue, Suite 300
                          Denver, Colorado 80210
       6                  720.2A3.0676

       7

       I
             For Defendant:
        9
                       ALVAIU\DO SMITH
      l_0              BY: THEODORE BACON, ESQ.
                       633 W. 5th Street, Suite 900
      11_              Los Angeles, California 90071-
                        213.229.2400
      1,2

      l-3

      L4

      15

      I6
      1,7

      18

      L9

      20

      2L

       zz

       23

       24
       ")q




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                                                                                        3



        1                                 INDEX
        2     WITI{ESS: JOHN BUCIIANAN

        3     EXA}4I\TATION BY                                                   PAGE

        4     By Mr. Woodrow                                                       4

        5                                   EXHIBlTS

        o

        7     EXHIBIT DESCRIPTION                                                PAGE

        I
        9      1"   Notice of Deposition.                                         L2

      l-0      z    Westfax Response to SubPoena.                                 L1


      1- 1_    3     Sample faxes                                                 6L

      1_2      4     Fax Opt-out                                                  ?o

      13       5     Prel-iminary Statement. . . .                                94

      L4       6     Irnroice dated 5/L4/t6                                      .r24
      15

      L6

      1-7

      t_B


      T9

      20

      2L

      22

      23

      24

      25




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       t-                          LOS AI{GELES, CALTFORNTA

       a               TUESDAY, SEPTEMBER 12, 20L7, 9:54 A.M-

       3

       4                                JOHN BUCTANAN,

       5         having been first duly sworn, was examined and
       6                            test.ified as follows:
       7                                  EXAMlNATION

       I    BY MR. WOODROW:

       9         A.     Good morning-

      1_0               My name is St.even Woodrow. Irm an aLLorney in

      11_   the lawsuit.
      L2                Can you say and spell your full name for the

      13    record?
      L4         A.     .Tohn Buchanan, J-o-h-n, B-u-c-h-a-n-a-n.

      15          O.    What, is your date of birth?

      3.6         A.    7 /a3   /62 .

      L7          0"    Have you ever been deposed before?

      1B          A.    No.

      1_9        O. okay. So just. a few ground mles that lrm
      20    sure your attorney went over, but I'm going to do it
      2L    again, so bear with me.
      22                One thing is       I'm going to be asking you
      23     questions and itts very important for the sake of the
      24     court reporter's fingers that' you wait until I'm done
      25     talking r.mt.il You answer.


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                                                                                     13


       l_                 MR. BACON: No, you are not.            JusL so werre
       z     clear.
       3                  THE WITNESS: Not under ar4r drugs or alcohol,

       .*'   aTac
             -rve.

       5                  MR. WOODROW: I appreciate the clarity             of the
       b     record. The witness has testified he is not r":nder the
       7     influence of any drugs or alcohol.
       I                  l4R. BACON: It's      all good. Thanl< you.
       9     BY MR. WOODROW:

      10             O. Mr. Buchanan, have you had a chance to look at
      t1     iL?
      12             A.    I have.
      13             O.    Do you see on page 4 where it says Schedule A

      L4     Deposition Topics?
      15             A.    Yes.

      a6             O.    And do you see 1-L topics there?

      1"7            A.    I do.
      l-8            O.    And have you seen this document before?
      t_9            A.    I have.
      20             0.    Before today?
      2L             A.    Yes.

      22     .       0.    And had you had a cL:,ance to review it before

      23     today?

      24             A.    Briefly, yes.
      25             O. Wlth respecL to toplc number one, rrYour


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                                                                                       L4


       1      causing faxes to be sent to plaintiff          and others, I' what
       )      did you do to prepare yourself today to answer guesLions
       3      about topic number one?
       4           A.    I'm not following'        What did I do?

        5         O. Did you review any documents to prepare
        6     yourself to answer guestions about topic number one?
        7          A.    No, I did not.
        I          0.    Other than your attorney, did you have any
        9     cornrersations with anyone about topic number one Lo
      1_0     prepare for todaY?
      l- l_        A.    No.

      1,2           O. Did you do anything else other thnn talking
      13      wj-th your attorney Lo prepare for topic number one?
      1,4          A.    No. Topic number one confused me a little               bit
      l-5     by what the meaning of the question was.
      1,6          O. Okay. Topic number one isn't a quesLion
      1,7     though, is ita
      18           A.     It doesn't have a guestion mark, no.
      19           O.     It says t'Your causing of faxes to be sent Lo
      20      plaintiff and others." Correct?
      2t           A.     Yes.

      zz            O.    And that confuses You?

       23           A.    Yeah, exactly what your meaning of this was.
       24      I mean, what did You mean?
       25          O. So you were confused. Did you do anything to


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                                                                                 l_5



       1      get clarification on deposit'ion Lopic number one?
       2           A.    Reading your definitions below.
       ?           O. AnYthing else?
       4           A. It didn't help me, but no, noLhing after that'
        5             MR. BACON: Olher than talking to counsel, you

        6     can answer thaL. You did talk Lo me. What' we said is
              privileged, but the fact that you talked to me is
        B     something you can menLion.
        9                THE WITNESS: Okay. Other Lhan thaL.

      1-0     BY IVIR. WOODROW:

      t- l-         O.    Other than speaking with cot:nsel?
      t2            A.    Yeah.

      13            O.    Arrd Your cot:nsel is Mr. Bacon?

      1"4           A.    Yes.

      15            O.    Was thaL conversation in person or over Lhe

      1,6     phone?

      L7            A.    Phone.

      1-B           O.    How long did it      last?
      1_9           A.    Few minutes.

      tn            O.    How nn:ch time would you say that you spent

      2T      talking with your counsel about topic number one?
       22               And again, I don't want to know Lhe substance

       23     of the cornrersation. I merely wanL to know the length
       24     of the conversation about topic number one.
       25          A. YesterdaY or in total?


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                                                                              I6

       1         O. In total to prepare for todayts deposition,
       z         A. Minutes; less than l-0.
       3         O. And that.'s just on topic number one?
       4         A.   Perhaps 1 through 11, but...

       5         O. Is it possible that you spent a total of L1 --
       6    L0 to l-l- minutes talking with your colmsel about all 11
       7    topics?
       8         A.    It is possible.
       9         0.   Do you thinl< you spoke wiLh your corinsel

      10    longer than that?
      11         A.   No.

      L2         0.    So with respecL to topic number two, "Your

      1-3   relationship and conrmmicaLions with WestFax,rt did you
      L4    review any documents to prepare yourself to testify
      15    about. Lopic rn:mber two?
      t6         A.    No.

      L1        O. Did you speak with your aLtorney about topic
      1B    number two to Prepare for todaY?

      19         A.    I don't recall if nr.rrber two was covered.
      20        O. Did you do anything else to prepare to answer
      2I    questions about topic number two?
      zz         A.    No.

      23         O.    Number three, "Your practices related to

      24    complying with the TCPA or JFPA. 'r
      25               Did you review arry documents to prepare



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                                                                               I7

        1_   yourself to answer questions about topic three?
        z        A.    No.

        J         O. Did you talk about number three with your
        4    lawyer?

        5         A.   I don't believe we did.
        6         O. Did you do anything else to prepare yourself
        7    to answer questions about topic number three today?
        o         A.   No.

        9         O.   Same question with number four, "The drafLing

       10    and producLion of Your faxes.rl
       l_1             Did you review any documents to prepare
       L2    yourself Lo answer questions about. topic number four?
       t-3        A.    I'm trying to calculaLe. I did look up and
       !4    briefly look r.ry a congressional ruling on faxes,
       15    unsol-icited faxes.
       1,6        O. Are we going back to rnmber three?
       L7         A. No, we're on four.
       18         O. okaY.
       l-9        A. And I did that. That,'s about Lhe only
       20    preparation I did on that.
       2A         0.    Do you remember what the ruling was?

       zz         A.    Yes. I mean --
       23         O.    What is it?

       24         A.    IL's in my favor. But I don't have the
       25    verbiage in front of me.



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                                                                                l-8



       L          O.    What do you believe is        in your favor abouL the
       z     ruling?
       3          A.   It was about soticited and unsol-icited fax,
       4     how Congress ruled what is a solicit'ed fax and Lhe

        5    opt-out clause not. being necessary for solicited faxes,
        6    and was.
        1
                  a.    So you looked uP Lhat ruling?

        8         A.    The only one I saw, Yes.

        9         0.    You didn't look uP any others?

      1-0         A.    No.

      11          O. Had you looked up that -- did you look up that
      L2     ruling in preparaLion for the deposition today?
      l-3         A. Yes, just a revi-ew.
       L4         O. Did you do anything with respect to topic
       1_5   four, though, with regard to the draft.ing and production
       16    of your faxes? Did you do anything to prepare to answer
       L7    questions about that' other than look up this ruling?
       1-8        A.    No.

       L9          O. Did you have any conversatj-ons about topic
       20    nr-mber four?

       2L         A.     No.

       22          0.    Nunrber five, rrYour three-step process for

       23    obtaining express permission to send faxes as set forLh
       24    in your amended answers to Request to Produce No. 2 and
       25     Interrogatory No. 1 served June 7, 2OL7.n



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       1-                 Did you do anything to prepare yourself to
       a     answer questlons today about Lopic five?
       ?          A. Prepire nryself for this, only the answers I
       4     gave and the interrogatories. I mean, other than that,
       5     I didn't prepare further than that.
        6         O. So you're saying that. you reviewed your
        7    answers to RequesL to Produce No. 2 in the

        8    interrogatories?
        g            A. No. I knew my answers so I didn't review
      1-0    them.

      11             A.    So did you actually do anything to prepare to

      t2     answer questions about. topic number five?
       13            A. When?
       I4            O. Prior to today, in preparation for todayrs
       15    deposition --
       16            A. Right.
       L7            O. -- did you do anyLhing to prepare yourself to
       l_8   answer questions about topic number five?
       I9            A.    Wouldnrt answering the quesLions in the
       20    interrogatory be PreParation?
       2L            0.Sure. Apart. from answering discovery earlier
       '))   in the case, I'm t.alking about specif ically to get
       z3    yourself ready for today to come and answer guestions.
       24              Did you review your discovery responses that
       25    you had served earlier in the case as parL of your



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                                                                              20


        I    preparation for today?
        a        A.    I did not need to review them. So I mean,
        3    when I answered would be the preparation for answering

        4    the questions.
        5              MR. BACON: Just so we're clear, he is

        6    entitled to know if you did anything further Lo prepare.
        7    If you already knew the answer and didn't prepare, YOU
        B    can just, -- because you already knew the answer, you can
        9    tell him that.    He is entitled to find out if there is

      1-0    anybhing else you looked at or persons you talked to.
      11                TT{E WITITTESS: Anything other than that., rlo.

      12                I\4R. BACON: If    you already knew the answer,
      13     you didn'L have to look at stuff, You can tell him thaL.
       L4    That's where werre going.
       15               TltE WIIlilESS: I was hoping that was implied.

       T6    BY MR. WOODROW:

       T7        O. Nothing is lmp1ied. I want to know express,
       1B    everything. PreLend -- and this is going to be easy for
       1"9   you -- pretend like I'm an idiot.
       20               Did you talk to anyone, oLher than your
       2T    lawyer, about topic number five to prepare yourself to
       22    answer questions about topic nunrber five?
       23         A.    No.

       24        a. And when you say you spoke with your lawyer
       25    about topic number five, is that part of the 10 or



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                                                                               t1


        l_   11-miru-rte discussion thaL you referenced earlier?

                  A.   Yes, when we covered all the overview of this
        3    whole thing.
        4         O.   Topic number six.        "The t.raining of your
        5    persorrnel in your ttrree-step process for obtaining
        6    elq)ress permission Lo send faxes as seL forth in your
        7    amended answers to Request to Produce No. 2 and
        o    Interogatory No. 1 served June 7, 2017.tl
        9               Same questj-on: Did you do anything to prepare

      10     yourself to testify today about topic number six?
       l-1        A.   No.

       L2         O.    You never reviewed any documentat.ion?

       1-3        A.    No.

       1-4        a.    And you didn't     talk with anyone other than
       15    your lawyer?
       L6         A.    CorrecL.

       I7         a. And your conversalion with your lawyer was
       l-8   part of the 10 or ll-minute discussion you have already
       I9    referenced?
       20         A.    Exactly, yes.
       2L         O.    Moving on to number seven/ "Your 1ist. of fax
       ).)   numbers and procedures for updating your list.            "

       23               Did you review any documents to prepare
       24    yourself Lo a-nswer guestions a.bout topic seven?
       25         A.    No.




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                                                                               22


        l_        O. Did you talk with anyone other than your
        2    lawyer?

        3         A.    No.

        .+        O. And with respect to your attorney, did you
        5    speak with him about topic seven just for the 10 or 11

        6    minutes that we have already talked about?
        7         A.    No. This subject, this question wasnrt
        I    brought. up.
        9         o.    At al-l?
      l_0         A.    YesterdaY? No, correct.
      11          O.    It wasn't brought uP at all?
       l2         A.    Correct.
       1-3        O.    Number eight,, trAll opt-outs from your faxes-"

       1-4              Did you review any documents to prepare
       15    yourself to testify today about topic number eight?
       16         A.    No.

       1"7         O. Did you talk with anyone other Lhan your
       18    lawyer about toPic number eight?
       19          A.   No.

       20          O.   And did you tatk with your lawyer about, topic

       2L    eight ?
       22          A.       Perhaps in general Lerms, nothing specific.

       23    But it, may have been covered.
       24          O.    And ntlnber nine, "And all transactions or

       25    sales between you and plaintiff."



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                                                                                  23


        l_                 Did you review any documents to prepare
        z     yourself to testify about topic nine?
        3          A.      No.

        +          O. Did you have any conversaLion with anyone Lo
        5     prepare yourself to test.ify about Lopic nine?
        6          A.      No.

        7          O. Topic 1-0, rrYour access Lo data, reporLs, or
        I     other information regarding the number of persons you
        9     caused to be faxed and Lhe number of faxes sent to each
      l_0     such person.'r
      1- 1_                Did you review any documents to prepare
      L2      yourself Lo answer questions about topic 10?
      1-3          A.      No.

      I4              0.   Did you have any discussions with anyone about
      15      topic 10 to prepare Yourself?
      1"6             A.   No.

      L7              a.    Including Your lawYer?
      1_B             A.    In yesterday's conversaLion, no, we didn'L
      1_9     cover topic 10.
      20              a.    Have you ever talked about topic 10 with

      2L      anyone, not just. in preparation for this deposition, but
       22     ever?

       23             A.    With my attorneY.
       24          O. Okay. Number 11, rrYour efforts to preserve
       25     information in this lawsuit."



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                                                                                  24


       1_                 Did you do anything to prepare yourself to
              answer questions about toPic L1?
                    A.    No.

       4            0.    Did you review anlr documents --
        5           A.    No.

        6           O.     -- to prepare yourself to testify about topic
        7     11?

        I           A.     No.

        9         O. Did you have arry conversations with anyone
      l-0     about toPic 1-1-?
      t-1           A'Itcouldhavebeencoveredinourconversation
      1,2     yesterdaY.
      13            O.     The 1-0 --

      t4            A.     With mY attorneY.
       15           0.     The 10 or 11-minute discussion?
       1,6
                    n      Woa


       l.'I         0.     Aside from that 10 or 11-mirurte discussion and
       1_B    reviewing no documents other tlran the, I think it's an
       19     FCC mling you referenced, other than doing that, did

       20     you do anything else to prepare for today's deposit'ion?
       2t           A.     No.

       22           O.     You hired WestFax to send faxes; is that

       23      correcL?

       24           A.      By hiring them, you mean did I enter into a
       25      contract? They did the faxes for me and I paid them to


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                                                                                 3Z


        1          A.     Exact.lY.

        z           O. Describe the reports to me. You talked
        3     briefly abouL them saying it. would show you which faxes
        4     were marked received and which ones failed to send; is
        5     that correct?
        6          A.     CorrecL.

                   O.     Do you remember arqzthing else about. the

        I     reports?
        9          A.     Have you seen the list,        the fax list?
      10                  MR. BACON: You don't get to ask guestions,

      l_ l-   sorry. But just to the extent you know.
      t2              THE WITNESS: Okay" I'II tell you about --

      13      the fax list is just a list. of numbers.
      L4      BY MR. WOODROW:

       15          O. I'm talking about the reports.
       16          A. We1l, no --
       17          O.     I want to --
       18          A.     -- the list of numbers would be on the report.
       L9          O. How so? In what? You saw the reports, I
       20     didn't. So f want to know what's on.
       21,         A.     I would submit the fax numbers.
       22                 MR. BACON: A11 he want.s to know is what the

       23     reporL looks like; what information is on the report
       24     itself.
       25                 TllE WITI{ESS: It has the fax mrmbers listed.



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       1     It has the daue iL went through and whether or not they
       2     were good, busy, bad numbers. Arrd you know, no conLact
        3    of any kind, and. remove Lhese, and these are the good
        4    numbers, these are the bad ones'
        5    BY MR. WOODRO}f,:

        6         O.     So Lhe reports would indicat'e the numbers that

        7    faxes were senL to,' correcL?
        I         A.     Yes.

        9          O.    It woul-d also indicaLe which of those rn-mbers
       1_0   received faxes; correct?
       11          A.    Yeah.

       1,2        O.Itwouldalsoindicatewhichoft.hosenrrrn}:ers
       13    returned a busy sigr-ral; isn'L that correcL?
       L4          A.    Correct.
       15         O. It would also 1et you know which ones had some
       t6    sort of data transmission error; isn't tkrat correct?
       L7          A.    Yeah. For whatever reason would not be
       l-8   deliverable.
       I9          O.    The ones t'hat you would remove' did you only

       20    use the reports Lo remove the nun'bers that were
       2I     unworking or undeliverable or did you remove even the
       a.)    ones with the busY signal?
                   A.     Generally, I would just keep the ones that
        24    were good numbers and the busy rurmbers'
        25          O.    Because the busy numbers could still            be a good



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        1    number, they just could have been busy at t'he time of
        z    Lransmission; correct?
        3         A.      Correct.
        4         O. But what about a number where there was a
        5    transmission daLa error, would you remove that number or
        6    keep it?
        7         A.    I would remove generally remove them all'
        B         O. What else would cause you to remove a number
        9    from the list?
      1_0         A. If I got a request.
      1l-            O.   And how many requests have you received in the

       T2    last. 1-0 Years?
       l_3           A.   I have no idea. Very few-
       L4            O.   Do you remember how marty you produced in this

       15    case?

       I6            A.   How manY?

       1,7           O.   RequesLs.

       18            A.    For removal?
       1"9           O. Yes.
       20            A. No, I don'L know.
       2I            a.    Does two sound about right?

       22            A.    There would be some time I could fax that and
       23     I would get zero. Other times I may get more than two'
       24          O. I'm talking about people who reached out and
       25     contacted you direct.ly by e-maj-l or phone call to say I



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       1-    would like to be removed from faxes.
       2             A.    RighL.

       3             0.    You actually produced evidence in discovery in

       4     this case of a couple opt-out reguests.
       5                   Do You remember that'?

        6            A.    I do because those are the only ones I had,
        7    yeah.

        8         O. Is it your testimony that there were more and
        9    you just don'L have the e-mails anlrmore?
      10             A.    Correct. Yeah.
      Ll_            a.    About how marrY more?
      L2             A.If we would get asked, I would tal<e the
      1_3    number, remove Lhem from the fist, update the 1ist, and

      1,4    it would be gone.
       1-5           O.    And then you would probably delete the e-mail?

       16            A. Ird delete the e-mail or usually, the funny
       L7    thi-ng is, more people would fax it back t'o me'
       18            O.    And what would you do with those faxes?

       a9            A.     I would tell     them please don't fax me

       20            a.    Would you remove them from the list?

       2L            A.     Yes, of course.
       zz            O.     Would you save the fax or throw it out?

       23            A.     I would throw it out after I removed t'hem'
       24             O.    Okay. So there is no pile of faxes sitting
       25     somewhere from people asking you not to fax them




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       t_    arr)4nore?

                   A.     Correct.
       3           O.     And aside from the two e-mails that you have

       4     produced, there are no other e-mail-s of people
       5     requesting thaL you remove them from the list?
        6          A.     To the best of mY knowledge, Yes'
        7          a.     What did you do to search your e-mails?

        I          A.     Well, they would come to me. Our e-mail is
        9    listed on the flier.
      10          O. I mean in terms of producing information in
       11    this case, I assume that the e-mails that were produced
       1a    were found in your e-mail sysLem; correct?
       13           A.    Yes.

       L4           O"    Do You use Outlook?

       l_5          A.    No.

       l6           O.    Do You use gmail?

       L7           A-    Yes.

       18           0.    So did you have Lo search your g;mai} for Lhose

       L9     requests?
       20           A. No. Generally, they would come in my in box'
       2L           O. I mean Lhe Lwo that you produced in the case'
       22           A. Yes. I searched for those.
       23            a.    Do you remember what search terms you used?

       24            A.    No.

       25            O.    Do you remember how long you searched for?



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        1_
             "solicited faxeg. "
        z         0. That's interesting, because when I was reading
        3    this saying that your opt-out language was faulty, you
        4    said, oh, but it says r:nsolicited.
        5                So now you are telling me I have Lo define

        6    "unsolicited.'t It.'s a word you just used.
        7                IvR. BACoN: Do you know what he means by

        I    "soliciLed'r ?
        9                Tt{E WITI{ESS: No.

      10                 MR. BACON: Please exPlain.

      1l_    BY MR. WOODROIII:

      L2          O.     WiLh permission.

      13          A.     T'hat's not the definition.
      I4          O.     Wkrat is the definition       of "solicited"?
       l-5        A.     You have to l-ook it      up, but I have read it.
       I6    And if we dontL have it here in front of us, I don't.
      !7     think I should -- we should review it in answer because
       l-8   solicited is people that. have given permission, do
       l-9   business with, and potentially can do business with,
       20    amongst other things.

       2L                And by that definition,        all these are
       zz    solicited faxes.
       23          O.    So by your definit.ion you think you sent a

       24    solicited fax to my client?
       25         A.     By the definit.ion I believe I sent solicited



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        1    faxes to everYone on that list.
        z         O.    Including mY client?
        ?         A. Yes. Because of our policy as well.
        4         O. Do you have any evidence that my cli-ent agreed
        5    to receive faxes from You?
        6         A.    I have no evidence from your client.
        7         O. So sitting here today you are guessing you
        I    senl solicit.ed faxes to mY cl-ient?
        9         A. As our policy states on the flier, that' we do
       10    Lry our best to contacL everyone on that list, get
       1l-   permission, and then do it.
       L2              If we make a mistake, and mistakes can be
       r-3   made, just 1et us know and we'll remove you.

       I4               So yes, I'fit assuming by our policy Tech

       l-5   Instrumentation was contacted-
       16         0.    Before You sent the fax?
       1"7        A.    Yes.

       18         a.     But you don'L have any proof. You are just
       1,9   saying it based on Your '-
       2A         A.     It would be --
       2L         O. Stop. Let me finish the question before you
       22    interrupt, sir.
       23              So you are just guessing based on your company

       24    policy that the fax Lo nqr client nmst have been
       25    solicited because it's your company policy to send only


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        1     solicited faxes; correct?
        2          A. Itrs an educated assumpLion, Y€s.
        3          O. You don't actually have proof do you?
        4          A.    I have no written Proof from Tech
        5     Instrumentat.ion.
        6          0.    Do you have anY oral Proof?

        7          A.    From Tech InstrumenLation?

        8          0.    Yes.

        v          A.    What would be oral Proof?

       1-0         0.    Do you have a recording of a conversation?

       l_1         A.    No.

       L2          O.    Do you have anY e-mails?

       l_3         A.     I did have a conversation with Tech
       I4     Instrumentati-on.
       I3          O. After the lawsuit was filed; correct?
       1,6         A. It was. I did.
       l7          0.     lrm talking about before you sent faxes to
       1B     Tech Instrumentation, do you have any recordings of
       19     conversaLions?
       20          A.     SorrY, we don't do that.
       ZL           O.    Do you have anY e-mails from Tech

       22     InsLrumentaLion?

       23           A.    If I had, they would have been del-eted and I
       24     don't think so.
       .)tr
                    O.    Do you have arry recorded conversations with



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       l_    any person you have senL faxes t'o indicating their
       z     consenL to receive faxes?

       3          A.     We do noL record conversations'

       4          O.     So is that a no?

       5          A.     Correct.
       6          O.     Do you have any e-mails from any person

       7     indicat,ing their consent to receive faxes from Eurton
        I    Electric?
        9         A.     I donrL know. f have never checked for that'
      t_0         a.     You have done no search in this case for types

      L1     of e-mails?
      L2          A.     For that particular question I don't thinl< I
      l_3    have ever searched.

       L4         O. So you have done no search for e-mails in this
       I5    case of proofs of consenL from your customers or people
       L6    on your faxes?
       1,7        A.     Can you say that again, rephrase that'?

       l_B        O. Sitting here today, You have done no search
       19    prior to today for any e-mails evidencing proof of
       20    consent from arrlr person you sent a fax to indicating
       21-    their consent to receive the fax?
       22          A.     Yes.
       t?          A.     Yes, You have done no search?
       24          A.     Yes, I have done no search'
       )q          O.      So sitting here t,oday, are you aware of any



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        l-   e-mails in your possession that evidence someone
        z    agreeing or consenting to receive a fax from you?
        3           A.   WelI, that's confusing. I may have some.
        4           O.   Vihere might they be?

        5           A.    I would imagine they would be in my e-mails.
        6           O.   You are unsure because you haven't searched

        7    yet?
        a           A.   Well, I kraven't searched for e-mails. You are
        9    asking a different. question.
       10         a. Okay. So you havenrt searched for e-mails.
       1l-   And sitting here today you think you might have some;
       a2    correct?
       l_3          A.    Might have some --
       a4           O.    E-mails.
       15           A.    -- e-mails. Concerning?
       1"6          O.    People indicating that they would like to
       L7    receive faxes from you.
       1B           A.    I have no -- I have done no search for that,
       I9    type of thing.
       20           O. Right.
       21,             And sitting here today you don't actually know
       22    whether you have any such e-mails in your possession,'
       z3    correcL?
       24           A.    I don't know.
       25           O.    What. don't you know?




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       l"                MR. BACON: He doesn't know the answer to the

       2     question.
       3                 Can we t,ake a break?

       4                 IuR. WOODROI{: Can we wait five minutes? I

       5     want an answer to the question.
       6                 MR. BACON: Ird like to take a break'                   I
        7    thought you said. we could take a break when we wanted Lo
        I    take a break. He answered the question'
        9              MR. WOODROW: I don't think he did, Ted'

      10                 MR. BACON: You said does he know, and he said

      l_1    rrT donrt know.rt

      L2     BY IViR. WOODROW:

      13          O.       Do you not know whether or not you have

      L4     e-mai1s?

       15         A.       I know I have e-mails.
       l-6        O. E-mails where someone is agreeing -- don't be
       1"7   cute -- e*mails where someone is agreeing or consenting
       1B    to receive faxes from you, do you know if you have those
       19    e-mails or are You unsure?
       20          A.  I'm unsure if I have e-mails from -- just so I
       ZL    know, you are asking do I have e-mails from people on
       22     that list?
       23          0.      E-maits from anyone asking lo get faxes from
       24     you. How's thaL?
       25          A.      Giving Permission to get faxes?



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        1            0.    Yeah.

        2            A.    I imagine if I did, that would be -- werd have
        3      no case, or You'd have no case.
        4                  MR. BACON: Are You aware of anY?

         5                 IVR.. WOODROW: Ted, can we get' him Lo answer

         6     the quest.ion?
         7                 MR. BACON: He's answered like           five times' He
         I     doesnrt know, unsure, rrl don'L know.rr lrm not going to
         9     come out --

       l-0                 Irffi.. WOODROW: Ted, but then he goes off on a

       1- 1-         oplanation about having no case. whaL does that
               f itt.Ie

       t2      mean? You know that's not responsive.
       13                  What we need to know is the answer t'o the

       L4      quesLion, does he have any e-maiIs, okay, where someone
       15      asked to get faxes or consented and said yes, gend me

       I6      faxes.
       L7                  He either can say: Yes, I have those e-mails;

       18      r1o, I don't have those e-mailsi oY, I'm unsure if                 I have
        L9     those e*mails.
        20                  THE WITNESS: I'm unsure if          f have those
        2t     e-mai1s.

        22                  MR. BACON: Done. Let's take a break'

        23                                    (Recess. )

        24     BY MR. WOODROW:

        25            O.     I'm going to show you whaL werre marking as


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        l-   number removed, you would remove Lhem; correct?

        z         A.     Yes.

        3         0.    And are you aware of the TCPA, sitting here
        4    today?

        5         A.     Yes. I haven'L read the whole -- everything
        6    they have, buL major part.s.
                  O.     You have some famj-liarity with it, today?

        B         A.     Now, yes.
        9         O. And some famil-iarity with this secLion of the
      10     TCPA that.'s referred to as the ,Junl< Fax Prevention Act?

       11         A. I would have to read that again just to say
       L2    I'm familiar with it.
       13          0.    I'11 represent to you that it.'s the part of
       L4    the TCPA that deals with faxes and it's why werre here.
       15          A.    BuL that's to unsolicited faxes.

       16                MR. BACON: Just answer the question.

       t7    BY MR. WOODROtrII:

       l-8        O. But we have already established that you have
       19    no evidence that any fax sent to my client was
       20    solicited,' correct?
       2L          A.    No.

       22          O.    You do have evidence?

       23          A.    I'm sorry. Evidence, no. No evidence.
       24    Youtre right.
       ttr         a.    In facL, you don't. have evidence, sit.ting here


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       1     today, that any of the faxes you senL were solicited;
       )     correct?
       3          A.   I need to clarify what we said earlier. Yes'
       4     To answer the earlier question prior to this lawsuit, I
       5     had no evidence or e-mails.

       6                 ivR.. BACON: Today, as of this       lawsuit, do you
        7    have any evidence that prior to this lawsuit you had any
        8    permission; is that correcl?
        9                TTIE WITI{ESS: I   trad no tangible or physical

      10     evidence.

      11_    BY MR. WOODROV{:

      1-2         O.     When you say rrno tangible or physical

       13    evidence,rr are you saying that you just have memories of
       l4    corwersations?
       15         A.     We1l, our policy is to contact everybody and
       T6    thaL's whaL I gave instructions for Lhem Lo follow
       t7    whaL's on this flier.
       l-8        O.     Okay. Who did you give instnlctions to?
       19         A.     PeoPle -- emPloYees.
       20          O. Of Eurton Electric?
       2t         A.     Yes.

       22          O. How many employees were part of this process?
       23          A. Well, over Lhe years we have had telemarketers
       24     in and out to call and contacL, and usually I would have
       25    no more than two.



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       1         0.     So two PeoPte at any give time?

                 A.    At any given time. And we went years without
       3     having arry. So that would be -- but the most at ariy
       4     given time was two.
        5        O. lihaL would you instruct these individuals?
        6        A. Well, they call, introduce the company.
        7    Dqplain what we do and ask permission to conLact them
        8    via fax, e-mail, or mail. Get their aLtention, their
        9    e-mail address. And then mail, e-mail, or fax some
      1_0    informati-on on us.
      1l-         0.    And that,'s been your policy from the get-go?

      I2          A.    I\tm-hmm. It says -- that's why il's           on there.

       13         O. But I want know, this "please removetr language
       L4    is slightly different from what you're inslruct'ing t'he
       L5    marketers; right? You give Lhem more than just three
       1,6   sentences; correct?
       L7         A.    We1I, thatrs part of the introduction of
       18    Eurton Electric.      We inLroduce ourselves, explain what

       79    we do and how we can be of value to them. And if they

       20    agree/ then they allow us to send them something or
       2L    e-mail or fax.
       22         O. Are the marketers put in a room to do this?
       23         A. I have a room currently to do this specific
       24    thing. Otherwise, some of them were in various
       25    Iocations in the company-



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       1          O.      Where would. they get the phone numbers to call

       z     people and ask them if they wanted to receive faxes?
        3         A.      The comPuter.
        4         O.      Like they would gio on the computer and get
        5    the number?
        6         A.      Well, the number I would give them is via
        7    compuLer.

        I         O.      So you would locate numbers of potential

        9    cusLomers of Eurton?

      l-0         A.      Yes.

      l-1        O. How would you do that? You wouLd go online?
       L2        A. Any number of ways. I mean, people -- online
       13    is certainly one of them. People would contact us.
       T4    Theyrre currenL cusLomers or potential cusLomers- And
       1-5   online would be probably the primary source of
       16    collecting data.
       l7            O.   Werre not, talking about your current

       18    customers. we're just going to talk about the potential
       t9    oneg.

       20                  You would go onto, what, Google and lool< up

       21,   companies and get their phone ritimbers?
       22            A.    Thatrs one way, Yes.
       23            a.    Were there other waYs?

       24            A.    Sure. Say we do business with a Dewalt
       25    service cenLer. They have a hundred Dewalt, service



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       t-     centers so I would solicit Dewalt, to give me all their
       z      service centers that way. ft would be other than just a
        J     Google search, something like Lhat. A rental yard has
        4     400 stores. They would say, here's aIl our stores.
        5     That's type of thing.
        6                  So it. wouldnrt necessarily involve Google, but

        1     that's only one avenue. So there are other avenues'
        o          O. But you would get a list of rrumbers and
        9     provide it with the -- provide that li-st to the
      10      marketers for them to call and solicit permission?
      t- t_        A.      Yes.

      L2              O.   How maryr numbers would you provide Lhem at a

      13      time?

      1,4             A.I don't know. WhaLever is on the l-ist,
       l-5    however many I compile. If I had l-0 on a list aL one

       1-6    point, I would give them 1-0. If somebody gave me a
       77     hundred, like if Dewalt' said here's all our service
       l_8    cenLers, here's 150, thaL kind of stuff.
       I9                   So it could vary al1 the t.ime-
       20             0.    Do they malce these calls just with their ceII

       2t     phones or do they work computer phones?

       22             A.I thinJ< originally they were landline phones.
       23     AL some point some used cell phones, and now wetre using
       24     a -- like a Google phone, whatever. It plugs in a wifi
       25     phone.




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        l_   there is Lhat group of people who never made it into the
        z    main system but had sales?
        3           A.   Right.
        4           0.   But. they would stil-l be on your spreadsheet

        5    from which you made the fax list; correct?
        6           A.   The potential customer spreadsheet, yeah.

        7          O. We call it a potential customer spreadsheeL,
        I    but. it has some actual customers?
        9          A. It has many, many actual cusLomers.
       1-0          O. But theyrre not your all-stars, correcL, that
       11    you would enter into Your system?
       T2         A. No, they could be all-stars on the list.
       13         O. And you haven't put them in your system yet?
       I4         A. No. Some of them are on the system, some of
       15    them wouldn'L be in the sysLem yet, and some of them are

       1"6   not.
       L7           O.    So the list    is a work in Progress?
       l-8          A.    Yeah.

       L9           O.    So some of those cusLomers on the potential

       20    customer -- acLual customer list do actually make it'
       2t    into the sYstem?
       22         A. Yes.
       23         O. So letrs, for the sake of the record, be clear
       24    on three things; righL? You have your company system;
       25    correct?



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        1        A.     Mm-hmm.

        2.        O.    We call    that the network?
        3         A.    Yeah. Our accourtting database system,
        4    whaLever thal's    in.
        5         0.    That's better because I don'L work for you.
        6    So whaLever you want to call       it.    The accor.rnting

        7    database system.
        I               So that's whaL I have called the master list

        9    that. has names, addresses, fax numbers, and sales;
      10     correct?
      t-1         A.    Of people that have done business with us.
      L2          O.    Correct. And iL's noc complete, is ite
      l-3         A.    Correct.
       I4         O. Because you have a middle spreadsheeL of,
       15    we'l} call it the potent.ial customer spreadsheet that
       16    actually has potenLial customers and some actual
       L7    cusLomers on iL; correcL?

       1_8        A.    Yes. Our cusLomers that have given us faxing
       t-9   because you want to keep your current customers up to
       20    speed on what you do, and potent.ial customers, showing
       2L    them what you do, that's what.rs on the list.

       zz         a. Okay. And then a third l-ist is the fax list
       23    which is the numbers that you have pulled from that
       24    second spreadsheeL; correct?
       25         A.    Correct.



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        1         0. Have you done a search of these three data
        a    sets to fig-rre out, if there has been any sales to Tech
        3    Instrument.ation?
        4          A.     I did check on Tech InsLrumentation, yes.
        5          0.     And you didn't    find --
        6          A.     I didn't find arrything.
        7        O. Did you find arry indication of a date when
        I    permission was obtained to send t^he faxes?
        Y          A.     No. of course, that was -- we never did that.
       10    We didn't     track that.
       11-        a. But, if I wanted to find out if another person
       I2    who got faxes had sales with you, T could take a look at.

       13    the fax number from the fax list., You can run it through
       I4    your system, and if iL's on the master list             because

       l_5   their company was enLered into the system aL some point,
       L6    we would be able to look at, their sales; correct?

       L7          A.      Yes, if they're a regular cusLomer with us.
       1B          O.      You said that the process would be tedious.

       I9    V,lhy is   that?
       20          A.      We would have Lo take each number and take it

       2I    back, research iL, find out, and then do the next
       zz    number. That's why.
       z3          0-      How long do you think iL takes to do per

       24    number?

       25          A.      Probably one Lo -- it depends on what you find



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                                                                                 l-l_0



        l_         A.     Correct.
       z                  MR. WOODROI{: You want to break now?

        3                 VR.. BACON: That's fine.

        4                 MR. WOODROV{: LeLrs come back at 10 'til-

        5                        (Luncheon recess was taken)

        6     BY MR. WOODROVI:

                   O. Mr. Buchanan, w€'re going to try to plow
        I     through the rest of my questions as efficienLly as
        9     possible.
      10                  So before we broke for lunch, You described

      l- l-   three basic buckets of information. We have the EurLon
      1"2     system database, that's number one. Number two is the
       13     potent.ial/actual customer spreadsheet- That's number
       t4     Lwo. And then number Lhree is the fax lisL.
       15              Do you recall test.ifying about those three

       L6     sets of information?
       t7          A.     Yes.

       18           O.    Does the potential/acLual cusLomer

       L9     spreadsheet, thaL Excel fite that we have been talking
       20     about as number two, does that have every customer who
       2I     would be in the system daLabase, buckeL number one?
       .)a          A.    Does it. have every one that's in the -- no.

       23           a.     It only incl-udes some of those in the first
       24     group?

       25           A.    Right. ExactLY.


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                                                                                   1_1- 1




        1-         O. Why woutd someone be in the system database,
        )     but not on the spreadsheet of potential and acLual
        3     customers?

        4          A.      The one on the potential and actual would be

        5     -- oh. This particular list of this fax sheet, iL's
        6     just to specific potential customers in a specific area,
        7     like the service industry. I may have anoLher list for
        8     the medical industry.
        9          O. Okay. So this potent.ial/actual customer
      l-0     spreadsheet, the Excel file that werre talking about is
      l- 1-   just for what type of customer?
      L2           A.      Electric motor repair, power Lool repair,
      r3      service, and other repair, service industry people.
      t4           0.   Okay. So then there would be folks in the
      1-5     system database who might be there as a customer for
      a6      health care or some other sector?
      4"7          A.      Right, that wouldn'L be on this fist          because

       18     medical is a different -- would be a different list..
       T9          O.      When an enLry is made into the system

       20     database, that's bucket number one, does the daLabase or
       21     the sysLem make any notation as to when that record was
       ))     created?
       23          A.      f don't know.
       24          O.      So, you've indicated in your responses Lo
       25     discovery that when someone would respond to the



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                                                                               tt2

        1    Ianguage, Lhe opt-out language on your faxes -- and we
        z    have two examples of people inquiring, asking to be
        3    removed -- you indicate in your discovery responses that

        4    you would remove them inrnediately; is that' right?
        5         A.     I would, yes.
        6         O.    Take me ttrrough thaL process. How would you

        7    remove them immediatelyz Would you delete them from

        I    just the fax list?      Would you delete them from the

        a    patient -* potential customer spreadsheet? Would you
       1-0   del-ete their entry into the system database? Tell me
       l-1   how it's   done.

       12         A.     It would be I would get a notification, like
       t_3   for example, if I got this one.
       L4         O.     For the record, you are pointing to the one of
       1_5   the two e-mails that we wenL over before?
       L6         A.     Yes.

       t7         0.     Okay. So you would get the first' reguest?
       1B         A.     I would go to the fax list where his number
       t9    was and remove it from there

       20         O.     But. that --

       2L         A.     And then delete this e-mail.

       zz          0.    Okay. But that potential customer or actual
       23    cusLomer, their record would still          appear on the

       24    potential customer spreadsheet from which the fax list,
       25    was made originallY; correcL?



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       1         A.    CorrecL. But that fax sheet- is not used for
       2    faxing.
       3         a.    I'm sorry, what?
       4         A.    On Lhat spreadsheeL, those numbers would never

       5    be faxed. Only the fax list would be faxed.
       6         a.   Right. And you get the fax list. from the fax
       7    numbers on the second group which we call the potential

            cusLomer, actual cusLomer spreadsheeL.
       9         A.    Correct.
      10         0.    But my point is, you wouldn't Lhen go to the
      1l    spreadsheet and delete them entirely.           You would just

      I2    delete their fax rurmber off the fax list?
      13         A.    Oh, correcL. CorrecL. I have cusLomers that
      t4    have said -- currenL cusLomers that didn't wanL to be
      15     faxed- anymore. They prefer e-mails. And so T woufd

      1-6   take them -- so they're still        there for reference and
      L7     conLacLing, just not through faxing.
      18         O. Do you have a computer backgror-rnd?
      I9         A. Only using it for a long time, buL no, no
      20     technical repair.
      2t          O.    You don'L have a degree in computer science?

      zz          A.    No.

      ZJ          O.    Would you know whether or not your new office

       24    computer would have your logins to the WestFax websiLe
       z5    for when you visited the website?


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                                                                                 Lr4


       t-           A.   No.

       2            a.   Do you know j-f your old compuLer would have

        3   had that?
        4           A.   No.

        5           a.   You didn'L do any search for that type of

        6   information, did You?
        7           A.   No.

        o
                    O.   And you haven't produced any website logs or

        9   browser, inLernet browser history in this case?
      10            A.   No.

      11            O.   And You haven'L searched for anY?

      I2            A.   NO.

      13          O. With respect to the potential/actual cusLomer
      I4     spreadsheet, the Excel file, do you maintain that as a
      15     native file on your compuLer?
      I6            A.   As a what?
       I7           O. A native Excel file.
       18                 MR. BACON: Do you know what Lhat means?

       L9                 TIIE WITNESS: I don't know what native D<cel

       20    file   means.

       2a    BY MR. WOODROIIi:
       -a         O. Just an Excel file. So you haven't converted
             into a PDF or a TIF. It sLays as an Excel file.
       24         A. Oh. Wel1, this particular list is like an
       25    Excel fite on Lhe cloud.



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                                                                                     1t-5


           1        O.      okaY.

           )        A.      ft's a Google Sheet..
           3        O. This is number two, the pot.ential/actual
           4   customer spreadsheeL?
           5        A.      Ttre potential/acLual customer.

           6        a.      Is a Google SheeL?
           7        A.      Yes.

           x        a.      Was it   at one point an Excel file       and now iL's

           9   a Google Sheet?
      l_0           A.      Yes.

      11            0.      Do you still   have the original Excel flle?
      I2            A.      Ibelieveldo.
      l-
      _L5           a.      Don'L delete it.
      L4                    Do you recall when you transferred the

      15       informat.ion from the Excel file to the Google Sheet'?
      L6            A.      Yes. MaY or June'
      I7            O. Of this Year?
      1B            A. Yes.
      79            O. After the lawsuit was filed?
      20            A. Yes.
      2L            O. Does the Google Sheet still provide you with
      22       the same functionality?         You are stil1 able to pull

       23      numbers from a particular column and make Lhe separate

       24      fax list.?
       25           A.      I haven't made a separaLe fax list out of it,


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                                                                                 l-3 5



        1     CaSe; COrreCL?

        2          A.    Correct.
        3          0.    And then on the 7 /a6/L6, the first three I

        4     rule ouL, but then it says armatures and parts, tools
        5     CSV fax list,     1499 qr:antitY.

        6                Would you say that's our list?

        7          A.    Yes.

        I          O. Tine 7/23/16 irnroice is not our list?
        9          A. Correct.
      1-0           O. T,jhe 7/30/1-6 with those two enLries, either of
      l- t-   those is our list; correct?
      1-2           A. Correct.
       l-3          O. The 8/13 invoice with the Rigid 300 parts,
       t4     Lhat's not our list?
       l-5          A. CorrecL.
       1-6          A. TYrc 8/20/1-5 welding equipment, welding CVS,
       t7     that. is noL our fist; right?
       r-8          A. CorrecL.
       L9           O. And that brings us to Llne 8/27 imroice. Werre
       20     dovnr to 8/25/16, cords and protecLors tools CSV fax

       2I     1isl, that's our list., but the four that come before
       22     that are not?
       23          A. Are not, correct.
       24          O. And it's your testimony that that's the last
       25     entry in 2016 of our list?


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        1-            A.        Yes.

        z             O.     I had the invoices from 20L5, '14 artd
                                So if

        3    '13, could r apply essentially the same logic and figure
        4    out. which entries on those invoices featured our list

        5    versus a difference list?
        6             If you got this from WestFax you mean for
                      A.
        7    those years? Yeah, it would show similar, I would
        8    imagine.
        9         O. So if there were entries for Lools and being
       10    sent to around 1500 people, I know from all the other
       11    enLries on the invoice thatts the list in our case?
       L2              A.       That would be the one, Yes.
       t-3             0.       So at any given time Lhe people who goL the

       1"4   faxes Lhat my clients got was only about 1-500 people?
       15              A.       Yeah.

       l-6             O.       Was the opt-out language the same on aI1 your

       L7    faxes, though?
       1_8             A.       Yes.

       L9              a.            didn't matter what list you are on?
                                 So it

       20              A.       Yeah. If I'm autopsy saws' casL saws, N, the
       21"   opt-out language is the same.
       22                  a.   And do you generate those fax lists,            those

       23    separaLe ones in the same way as you did the tools fax
             "l 'i a{- ?
       24

       25                  A.    Yes.




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        t_        O.   Arrd you do that by doing some sort of data
        a    oqport from what was an Excel spreadsheet which is now a
        3    Google Sheet?
        4         A.    Yes.

        5         O.    Do you have to go through each entry and

        6    decide which list every business is going to be on?
        1         A.    Yes.
        a
                  a.    Do some businesses appear on rm-rltiple lists?
        9         A.    Tt can, yes, some. Usually they are
      1_0    separated. You can see autopsy saws wouldn'L have much
      11-    to do with tools. That kind of Lhing.
      L2                So it's   easy. Sometimes it's blurred,
      l-3    sometimes iL's easy.
      t4          O.    f'm sure there is a joke somewhere in there
      t-5    from someone much funnier than me.
      I6          A.    Yes, there are some good ones.
      I7          O.    Do you believe that in the last four years you

       1-8   have probably gotten fewer than l-0 opt.-ouL request.s?

       t9    You showed us two.
      20          A.    Fewer Lhan 10 total?

       2L         o.    Yes.

       zz         A.    No. Are we talking off of this list?
       23         O.    Sure.

       24         A.    Tn the last four years?
      25          f]
                  v.    Woc




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        l_          A.    No, I believe there's probably been more-
        .)
                     O.   How many would You saY?

        3            A.   Like I said, our opt-out rate is realIy,
        4    really }ow when I get things back.
        5         0. I know. That's why I said is it lower than
        6    1-0.

        7            A.    I can't really tell you. On this particular
        I    list, it may be lower than 20.
        9          O. How about total, all Your lists?
       10            A.   AII the li-sts? Same L14pe of -- we have the
       11    same Lype percentage because we go through and get

       l2    approvals, depending on the list.             You can see some of

       13    the lists are very small. Like on page 1, for example,
       T4    there is only 193. I don't get any back on thaL. It's
       15    zeTo,

       t6                  But with the larger numbers -- in facL, it's
       L7    fwrry, on this particular one, Rental Yards, you can see
       1-8   i-t's 1-800. r specifically remember that, not getting
       T9    any back.
       20            O.    How does that -- what about that?

       ZI            A.    It just means that. everything is good.
       22            O.    What about that triggered your memory?

       23            A.    Because it was big.        And it was big and I

       24    usually -- I could get one, something llke t|lat.                    Or

       25    like I say, one or two off a list.              But noL to get



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